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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
__________________________________________
                                             )
PFLAG, INC., et al.,                         )
                                             )
                              Plaintiffs,    )
                                             )
                      v.                     )   Civil Action No. 8:25-cv-337-BAH
                                             )
DONALD J. TRUMP, in his official capacity as )
President of the United States, et al.,      )
                                             )
                              Defendants.    )
__________________________________________)

                                  NOTICE OF APPEAL

       PLEASE TAKE NOTICE that all Defendants in the above-captioned case hereby appeal

to the United States Court of Appeals for the Fourth Circuit from this Court’s Memorandum

Opinion (ECF No. 115) and Order (ECF No. 116), both entered March 4, 2025.


Dated: March 21, 2025                     Respectfully submitted,

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